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                IN THE UNITED STATES DISTRICT COURT                      FILED
                    FOR THE DISTRICT OF MONTANA                            NOV 3 0 2U18
                           BUTTE DIVISION
                                                                        Cieri<, U.S District Coun
                                                                           District Of Montana
                                                                                 Missoula
UNITED STATES OF AMERICA,                          CR 18-08-BU-DLC

                    Plaintiff,

vs.                                                        ORDER

TARVAN LEONARD HANKS,

                     Defendant.


      Before the Court is Defendant Tarvan Leonard Hanks' s Motion for

Transportation Expenses Pursuant to 18 U.S.C. § 4285. (Doc. 57.) The

government does not object to the motion.

      IT IS ORDERED that:

      (1)   Defendant's motion (Doc. 57) is GRANTED; and

      (2)   The United States Marshal shall arrange for Defendant's

            transportation from Fort Lauderdale, Florida to Missoula, Montana to

            enable Defendant to attend his sentencing hearing on December 20,

            2018;and

      (3)   The United States Marshal shall furnish Defendant with necessary

            subsistence expenses to his destination, not to exceed the per diem

            allowances set forth in 18 U.S.C. § 5702(a).


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DATED this 30 day ofNovember, 2018.




                                  Dana L. Christensen, Chief Judge
                                  United States District Court




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